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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 JOHN DOE,

                   Plaintiff,

            v.
                                                           Civil Action No. 24-0617 (TJK)
 U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT,

                   Defendant.


             DEFENDANT’S STATEMENT OF MATERIAL FACTS AS
     TO WHICH THERE IS NO GENUINE ISSUE DEFENDANTS’ STATEMENT OF
                           MATERIAL FACTS

           Pursuant to Local Civil Rule 7(h), Defendant, U.S. Immigration and Customs Enforcement

(“ICE”), hereby submits this statement of material facts as to which there is no genuine dispute in

support of their motion for summary judgment in this Freedom of Information Act (“FOIA”) case.

I.         Status of Plaintiff’s FOIA Request

           1.     Plaintiff submitted a FOIA request to ICE on October 12, 2023, and which was

subsequently updated on November 16, 2023. Declaration of Fernando Pineiro (“Pineiro Decl.”)

¶¶ 6, 8.

           2.     Generally, Plaintiff’s FOIA request seeks documents and communications relating

to disclosures by ICE to third-parties regarding Plaintiff’s pending asylum application. See

generally id., Ex. B.

           3.     On March 8, 2024, not having received a final response to his FOIA request,

Plaintiff filed a federal Complaint. Id. ¶ 12.

           4.     Also on March 8, 2024, Plaintiff filed a Motion for a Temporary Restraining Order

to expedite ICE’s production of responsive records. Id.
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       5.      However, on March 14, 2024, ICE provided Plaintiff with a final response to his

FOIA request, and Plaintiff’s aforesaid motion was consequently dismissed for mootness. Id. ¶ 13.

       6.      Instantly, Plaintiff exclusively challenges the adequacy of ICE’s search, along with

the assertion of FOIA Exemptions 5 and 7(E) to portions of the records responsive to its FOIA

request. See generally ECF No. 17.

II.    ICE’s Search for Responsive Records

       7.      The ICE FOIA Office is assigned with responsibility for determining, upon receipt

of a FOIA request, which program office(s) are likely to possess records that are potentially

responsive to the received FOIA request. Pineiro Decl. ¶ 15-16.

       8.      ICE records are maintained by directorates and leadership offices such as: the

Office of Public Affairs, the Office of Enforcement and Removal Operations, the Office of

Professional Responsibility, the ICE FOIA Office, the Office of the Director, the Office of the

Principal Legal Advisor, and the Chief Financial Officer. Id. ¶ 17.

       9.      Each program office is staffed with a point-of-contact “who is the primary person

responsible for communications between that program office and the ICE FOIA office.” Id.

       10.     “Once the ICE FOIA Office determines the appropriate program offices for a given

request, it provides the POCs in each of those program offices with a copy of the FOIA Request

and instructs them to conduct a search for responsive records.” Id. ¶ 18.

       11.     “The [point-of-contacts] then review the FOIA request, along with any case-

specific instructions provided by the ICE FOIA Office and based on their experience and

knowledge of their program office’s practices and activities, forward the request and instructions

to the individual employee(s) or component office(s) within the program office that they believe

are reasonably likely to have responsive records, if any.” Id.
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       12.     “ICE employees maintain records in several ways. ICE program offices use various

systems to maintain records, such as investigative files, records regarding the operation of ICE

programs, and administrative records. ICE employees may store electronic records on their

individual computer hard drives, their program office’s shared drive (if the office uses one), DVDs,

CDs, and/or USB storage devices. The determination of whether or not these electronic locations

must be searched in response to a particular FOIA tasking, as well as how to conduct any necessary

searches, is necessarily based on the manner in which the employee maintains his/her files.” Id. ¶

19.

       13.     “Additionally, all ICE employees have access to e-mail. ICE uses the Microsoft

Outlook e-mail system. Each ICE employee stores his/her files in the way that works best for that

particular employee. ICE employees use various methods to store their Microsoft Outlook e-mail

files - some archive their files monthly, without separating by subject; others archive their e-mail

by topic or by program; still others may create PST files of their emails and store them on their

hard drive or shared drive.” Id. ¶ 20.

       14.     Upon receipt of potentially responsive records from the program office’s point-of-

contact, the ICE FOIA Office assigns a FOIA processor to perform a review and to determine

whether the records are, in fact, responsive, and if responsive, whether any redactions should be

made pursuant to FOIA or the Privacy Act. Id. ¶ 21.

       15.     After review of Plaintiff’s FOIA request, the ICE FOIA Office tasked the Office of

the Principal Legal Advisor, the Office of Enforcement and Removal Operations, the Office of

Professional Responsibility, the Office of Information Governance and Privacy, and the Office of

the Chief Information Officer with conducting a search for responsive records. Id. ¶ 24.
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       16.      The Office of Information Governance and Privacy and the Office of Professional

Responsibility, however, “responded to the ICE FOIA Office that they would not have responsive

records.” Id.

       17.      The Office of Information Governance and Privacy “also declined to search since

[the Office of Enforcement and Removal Operations] and [the Office of the Principal Legal

Advisor] were tasked to search.” Id.

       18.      Pursuant to the Office of the Principal Legal Advisor’s search, approximately 1,453

pages of potentially responsive records were recovered. After these records were processed, all

responsive, non-exempt records were provided to Plaintiff I the final production of March 14,

2024. Id. ¶¶ 31, 52-54.

       19.      Pursuant to the Office of Enforcement and Removal’s search, approximately 160

pages of potentially responsive records were recovered. After these records were processed, all

responsive, non-exempt records were provided to Plaintiff in the final production of March 14,

2024. Id. ¶¶ 35, 52-54.

III.   Withholdings

       A.       Exemption 5

       20.      Pursuant to FOIA Exemption 5, ICE withheld information pursuant to the

deliberative process privilege and the attorney-client privilege. Id. ¶¶ 39-42.

       21.      Pursuant to FOIA Exemption 5’s deliberative process privilege, ICE withheld from

disclosure—among other things—“ draft documents and emails containing pre-decisional opinions

of agency employees deliberating on what action the agency should take.” Id. ¶ 41.

       22.      Pursuant to FOIA Exemption 5’s attorney-client privilege, ICE withheld from

disclosure—among other things—“email exchanges between ICE attorneys and other ICE

components where ICE attorneys provide confidential legal advice to their clients.” Id. ¶ 42.
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        23.    Additional information elucidating ICE’s application of Exemption 5 is provided

in ICE’s Vaughn Index. See generally id., Ex. A.

        B.     Exemption 7

        24.    ICE is a law enforcement agency under the purview of the Department of Homeland

Security. Id. ¶ 44 (“ICE is tasked with preventing any activities that threaten national security and

public safety by investigating the people, money, and materials that support illegal enterprises.”).

        25.    Plaintiff’s FOIA requests sought law enforcement records. See Id. ¶ 45.

        Exemption 7(E)

        26.    Pursuant to FOIA Exemption 7(E), ICE withheld information that identified law

enforcement codes contained in screenshots of databases. Id. ¶ 47.

        27.    “The information redacted is a screenshot of the EARM database, which is a

software application that supports ICE’s processing and removal of noncitizens from the United

States and used primarily as a case management tool to track the status of removal proceedings. It

includes specific information regarding a noncitizen’s detention and removal, including, but not

limited to, specifics about bed location, transfers, and travel times.” Id.

        28.    “This type of information is utilized for law enforcement purposes as it is in

furtherance of ICE’s obligation to enforce the immigration laws of the United States by conducting

removal operations and ensuring that these operations are not hindered by actions of bad actors

who may obtain access to confidential law enforcement sensitive information and intelligence.”

Id. ¶ 48.

        29.    Additional information elucidating ICE’s application of Exemption 7(E) is

provided in ICE’s Vaughn Index. See generally id., Ex. A.
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IV.     Segregability

        30.    ICE carefully reviewed the responsive records on a line-by-line basis to identify

reasonably segregable, non-exempt information to ensure that all such information was released.

Id. ¶ 53.

        31.    ICE determined that all information withheld either was exempt from disclosure

pursuant to a FOIA exemption or was so intertwined with protected material that segregation was

not possible without revealing the underlying protected material. Id. ¶ 54.

        32.    ICE produced all the segregable, non-exempt information in the requested records,

including the factual material that was presented in these records. Id.

Dated: September 2, 2024                      Respectfully submitted,
       Washington, DC
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